            Case 2:13-cr-00160-TLN-AC Document 124 Filed 08/13/15 Page 1 of 1

 1 BENJAMIN B. WAGNER
   United States Attorney
 2 MICHAEL D. ANDERSON
   NIRAV K. DESAI
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900
 6 Attorneys for Plaintiff
   United States of America
 7
 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                         CASE NO. 2:13-CR-160 MCE
11
                                  Plaintiff,           ORDER DISMISSING COUNT FOUR OF THE
12                                                     INDICTMENT
                           v.
13                                                     DATE: August 17, 2015
     ALEXANDER SAKHANSKIY, and LARISA                  TIME: 9:00 a.m.
14   SAKHANSKIY,                                       COURT: Hon. Morrison C. England, Jr.
15                               Defendants.

16
17
18          The Court HEREBY GRANTS the United States of America’s motion to dismiss count four of
19 the indictment, charging wire fraud in violation of 18 U.S.C. § 1343. Fed. R. Crim. P. 48(a). Count
20 four of the indictment is dismissed without prejudice.
21          IT IS SO ORDERED.
22 Dated: August 12, 2015
23
24
25
26
27
28


      ORDER                                            1
      UNITED STATES V. SAKHANSKIY, 2:13-CR-160 MCE
